             AO 245B                                                                    (Rev. 09/19) Judgment in a Criminal Case
                                                                                        Sheet 1
Cover Page
             [LastName] filthy fuhrer, a/k/a “timothy lobDell,” a/k/a “fuck face” JNC
             AO 245B                                                                    Judgment in a Criminal Case




                                                                                                                                UNITED STATES DISTRICT COURT
                                                                                                                                                  District of Alaska
                                                UNITED STATES OF AMERICA                                                                                   JUDGMENT IN A CRIMINAL CASE
                                                            v.                                                                                             (For Supervised Release)
                                         FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,”                                                                           Case Number:           3:19-CR-00026-001-TMB
                                                    A/K/A “FUCK FACE”
                                                                                                                                                           USM Number:            07243-748
                                                                                                                                                           Wayne C. Fricke
                                                                                                                                                           Defendant’s Attorney
             THE DEFENDANT:
             ☐ pleaded guilty to count(s)
              ☐ pleaded nolo contendere to count(s)
                which was accepted by the court.
              ☒ was found guilty on count(s) 1s, 2s, 3s, 4ss, 5ss, 7s, 8s, 9s, 10s, 11s, and 12s of the First Superseding Indictment
                after a plea of not guilty.
             The defendant is adjudicated guilty of these offenses:
             Title & Section                                                                                                     Nature of Offense                                            Offense Ended   Count
             18 U.S.C. § 1962(d)                                                                                                 Racketeering Conspiracy                                       09/30/2017      1s
             18 U.S.C. § 1959(a)(5) and                                                                                          VICAR Conspiracy                                              08/31/2017      2s
             18 U.S.C. § 1959(a)(6)
             18 U.S.C. § 1201(c)                                                                                                 Kidnapping Conspiracy                                         08/03/2017      3s
             18 U.S.C. § 1201(a)(1)                                                                                              Kidnapping Resulting in Death                                 08/03/2017      4ss
             18 U.S.C. § 1959(a)(1)                                                                                              VICAR Murder                                                  08/03/2017      5ss
             18 U.S.C. § 1201(c)                                                                                                 Kidnapping Conspiracy                                         07/20/2017      7s
             18 U.S.C. § 1201(a)(1)                                                                                              Kidnapping                                                    07/20/2017      8s
             18 U.S.C. § 1959(a)(3)                                                                                              VICAR Assault                                                 07/20/2017      9s
             18 U.S.C. § 1201(c)                                                                                                 Kidnapping Conspiracy                                         04/02/2017      10s
             18 U.S.C. § 1201(a)(1)                                                                                              Kidnapping                                                    04/02/2017      11s
             18 U.S.C. § 1959(a)(3)                                                                                              VICAR Assault                                                 04/02/2017      12s




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                                                                                                                      Case 3:19-cr-00026-TMB Document 1323 Filed 02/03/23 Page 1 of 8
AO 245B      (Rev. 09/19) Judgment in a Criminal Case
             Sheet 1

                                                                                                                   Judgment — Page 2 of 8
                           FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
DEFENDANT:                 FACE”
CASE NUMBER:               3:19-CR-00026-001-TMB
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s)
                 ☐ is ☐ are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.




                                                                   1/24/2023
                                                                   Date of Imposition of Judgment



                                                                   /s/Timothy M. Burgess
                                                                   Signature of Judge

                                                                   Timothy M. Burgess, United States District Judge
                                                                   Name and Title of Judge

                                                                   2/3/2023
Sheet 1
                                                                   Date




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               AO 245B                           (Rev. 09/19) Judgment in a Criminal Case
                                                 Sheet 2 — Imprisonment

                                                                                                                                          Judgment — Page 3 of 8
                                                               FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
               DEFENDANT:                                      FACE”
               CASE NUMBER:                                    3:19-CR-00026-001-TMB
Imprisonment




               Sheet 2 — I mprison ment
                                                                                             IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

               LIFE

               This term consists of life on Counts 1s, 3s, 4ss, 5ss, 7s, 8s, 10s, and 11s; 120 months Count 2s; and 240 months on Counts
               9s and 12s, all counts to run concurrently


                 ☒ The court makes the following recommendations to the Bureau of Prisons:
                                          The defendant requested placement at FCI Coleman, the government requested placement at FCI Florence. The Court
                                          strongly cautions BOP on evaluation and designation of the defendant.

                 ☒ The defendant is remanded to the custody of the United States Marshal.

                 ☐ The defendant shall surrender to the United States Marshal for this district:
                                          ☐ at                                ☐ a.m. ☐ p.m. on                                                 .
                                          ☐ as notified by the United States Marshal.

                 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                                          ☐ before 2 p.m. on                                            .
                                          ☐ as notified by the United States Marshal.
                                          ☐ as notified by the Probation or Pretrial Services Office.

                                                                                                    RETURN
               I have executed this judgment as follows:




               Defendant delivered on                                                                            to

               at                                                                  , with a certified copy of this judgment.



                                                                                                                         UNITED STATES MARSHAL

                                                                                                     By
                                                                                                                      DEPUTY UNITED STATES MARSHAL




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                        AO 245B                               (Rev. 09/19) Judgment in a Criminal Case
                                                              Sheet 3 — Supervised Release

                                                                                                                                                             Judgment — Page 4 of 8
                                                                            FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
                        DEFENDANT:                                          FACE”
                        CASE NUMBER:                                        3:19-CR-00026-001-TMB
Supe rvise d Relea se




                                                                                                         SUPERVISED RELEASE
                        Sheet 3 — Supervised Release




                        Upon release from imprisonment, the defendant shall be on supervised release for a term of:

                            5 YEARS

                            This term consists of 5 years on Counts 1s, 3s, 4ss, 5ss, 7s, 8s, 10s, and 11s; 3 years on Counts 2s, 9s, and 12s, all counts
                            to run concurrently




Mandatory Conditions




                                                                                                    MANDATORY CONDITIONS

                        1.                             You must not commit another federal, state or local crime.
                        2.                             You must not unlawfully possess a controlled substance.
                        3.                             You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
                                                       of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                                                            ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
                                                              substance abuse. (check if applicable)
                        4.                             ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                                                         restitution. (check if applicable)
                        5.                             ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
                        6.                             ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
                                                         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
                                                         where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
                        7.                             ☐ You must participate in an approved program for domestic violence. (check if applicable)


                        You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
                        on the attached pages.




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                       AO 245B                                (Rev. 09/19) Judgment in a Criminal Case
                                                              Sheet 3A – Supervised Release

                                                                                                                                                             Judgment — Page 5 of 8
                                                                            FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
                       DEFENDANT:                                           FACE”
                       CASE NUMBER:                                         3:19-CR-00026-001-TMB
Standa rd Conditions




                       Sheet 3A – Supervised Release
                                                                                      STANDARD CONDITIONS OF SUPERVISION
                       As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
                       are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
                       tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
                       and condition.

                       1.                              You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
                                                       of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
                                                       within a different time frame.
                       2.                              After initially reporting to the probation office, you will receive instructions from the court or the probation officer
                                                       about how and when you must report to the probation officer, and you must report to the probation officer as instructed.
                       3.                              You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                                                       permission from the court or the probation officer.
                       4.                              You must answer truthfully the questions asked by your probation officer.
                       5.                              You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
                                                       living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
                                                       change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
                                                       the probation officer within 72 hours of becoming aware of a change or expected change.
                       6.                              You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                                                       probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
                                                       view.
                       7.                              You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
                                                       excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
                                                       the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
                                                       (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
                                                       change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
                                                       you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
                       8.                              You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
                                                       has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
                                                       the permission of the probation officer.
                       9.                              If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
          10.                                          You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                                                       anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
                                                       such as nunchakus or tasers).
          11.                                          You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                                                       informant without first getting the permission of the court.
          12.                                          If the probation officer determines that you pose a risk to another person (including an organization), the probation
                                                       officer may require you to notify the person about the risk and you must comply with that instruction. The probation
                                                       officer may contact the person and confirm that you have notified the person about the risk.
          13.                                          You must follow the instructions of the probation officer related to the conditions of supervision.




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                     AO 245B                          (Rev. 09/19) Judgment in a Criminal Case
                                                      Sheet 3D – Supervised Release

                                                                                                                                                 Judgment — Page 6 of 8
                                                                    FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
                     DEFENDANT:                                     FACE”
                     CASE NUMBER:                                   3:19-CR-00026-001-TMB
Special Conditions




                     Sheet 3D – Supervised Release
                                                                                SPECIAL CONDITIONS OF SUPERVISION
                     1. In addition to submitted to drug testing in accordance with the Violent Crime Control and Law Enforcement Act of
                        1994, at the direction of the probation officer the defendant shall obtain a substance abuse assessment and participate in
                        any recommended treatment. The treatment program must be approved by the United States Probation Office and the
                        program must include testing to determine whether the defendant has reverted to the use of drugs or alcohol. At the
                        direction of the probation officer, the defendant may be required to pay for all or a portion of any treatment program. In
                        addition to urinalysis testing that may be a part of a formal drug treatment program, the defendant shall submit up to 12
                        urinalysis tests per month.

                     2. The defendant shall submit to a warrantless search of person, residence, vehicle, personal effects, place of employment,
                        and other property by a Federal probation or pretrial services officer or other law enforcement officer, based upon
                        reasonable suspicion of contraband or a violation of a condition of supervision. Failure to submit to a search may be
                        grounds for revocation of supervision.

                     3. The defendant shall not associate with known gang members or be a member of a gang.
                                                     //////////////////////////////////////////////////////////////////////////////////////////////////////

                     U.S. Probation Office Use Only

                     A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
                     of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
                     and Supervised Release Conditions, available at www.uscourts.gov.


                     Defendant’s Signature                                                                                    Date




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                         AO 245B                            (Rev. 09/19) Judgment in a Criminal Case
                                                            Sheet 5 — Criminal Monetary Penalties

                                                                                                                                                          Judgment — Page 7 of 8
                                                                          FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
                         DEFENDANT:                                       FACE”
                         CASE NUMBER:                                     3:19-CR-00026-001-TMB
Crimina l Moneta ry Pena lties




                                                                                           CRIMINAL MONETARY PENALTIES
                                                    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                                                                                                AVAA                  JVTA
          Sheet 5 — Criminal M onetary Penalties




                                                                  Assessment                Restitution        Fine             Assessment*           Assessment**
          TOTALS                                                $ 1,100.00                  N/A                Waived           N/A                   N/A

          ☐ The determination of restitution is deferred until                                                          . An Amended Judgment in a Criminal Case (AO 245C)
            will be entered after such determination.

          ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                                   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
                                                   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
                                                   all nonfederal victims must be paid before the United States is paid.


                     Name of Payee                                                                 Total Loss***          Restitution Ordered      Priority or Percentage




                     TOTALS                                                                               $ 0.00                      $ 0.00

              ☐ Restitution amount ordered pursuant to plea agreement                                              $

              ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
                Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
              ☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                                   ☐ the interest requirement is waived for the ☐ fine ☐ restitution
                                                   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:




              *   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
              ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
              *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
                  committed on or after September 13, 1994, but before April 23, 1996.




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                        AO 245B                                  (Rev. 09/19) Judgment in a Criminal Case
                                                                 Sheet 6 — Schedule of Payments

                                                                                                                                                                           Judgment — Page 8 of 8
                                                                               FILTHY FUHRER, A/K/A “TIMOTHY LOBDELL,” A/K/A “FUCK
                        DEFENDANT:                                             FACE”
                        CASE NUMBER:                                           3:19-CR-00026-001-TMB
Schedule of Payment s




                        Sheet 6 — Schedule of Payments
                                                                                                        SCHEDULE OF PAYMENTS
                        Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

                  A ☒                                        Lump sum payment of $1,100.00                         due immediately, balance due
                                                               ☐ not later than                             , or
                                                               ☒ In accordance with ☐ C, ☐ D, ☐ E, or ☒ F below; or
                  B ☐                                        Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

                  C ☐                                        Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period
                                                             of                   (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this
                                                             judgment; or

                  D ☐                                        Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period
                                                             of                   (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
                                                             imprisonment to a term of supervision; or

                  E ☐ Payment during the term of supervised release will commence within                                                     (e.g., 30 or 60 days) after release from
                                                             imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

                    F ☒                                      Special instructions regarding the payment of criminal monetary penalties:

                                                             Any unpaid amount is to be paid during the period of incarceration at a rate of 50% of wages earned while in the custody of the
                                                             Bureau of Prisons and during the period of supervision in monthly installments of not less than 10% of the defendant’s gross
                                                             monthly income or $25, whichever amount is greater.

                        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
                        due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
                        Prisons’ Inmate Financial Responsibility Program are made to the United States District Court, District of Alaska. For restitution
                        payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution specified on the Criminal
                        Monetary Penalties (Sheet 5) page.

                        The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               ☐ Joint and Several
                                                         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                                                         and corresponding payee, if appropriate.


               ☐ The defendant shall pay the cost of prosecution.
               ☐ The defendant shall pay the following court cost(s):

               ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:

                 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
                 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
                 prosecution and court costs.



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